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          EXHIBIT 3
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                            IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TENNESSEE
                                      EASTERN DIVISION

 CONSOLIDATED INDUSTRIES, LLC                       )
 d/b/a WEATHER KING PORTABLE                        )
 BUILDINGS,                                         )
                                                    )
          Plaintiff,                                )
                                                    )   Civil Action No. l:22-cv-01230
 v-                                                 )
                                                    )
 JESSE A. MAUPIN, BARRY D.                          )
 HARRELL, ADRIAN S. HARROD,                         )
 LOGAN C. FEAGIN, STEPHANIE L.                      )
 GILLESPIE, RYAN E. BROWN, DANIEL                   )
 J. HERSHBERGER, BRIAN L. LASSEN,                   )
 ALEYNA LASSEN, and AMERICAN                        )
 BARN CO., LLC,                                     )
                                                    )
          Defendants.                               )



       AMERICAN BARN CO., LLC’S RESPONSES TO PLAINTIFF’S FIRST SET OF
      INTERROGATORIES, REQUESTS FOR PRODUCTION OF DOCUMENTS, AND
                         REQUESTS FOR ADMISSION

         Pursuant to Fed. R. Civ. P. 26, 33, 34, and 36, American Barn Co., LLC by and through its

attorneys, states the following responses.

                                      INTERROGATORIES

         1.      Identify each person or entity who played a role in planning ABCO’s creation or

 formation and, for each such person/entity: (a) set forth the role each person/entity played; and (b)

 set forth the dates in which the person/entity helped plan the creation/formation.

         RESPONSE:

         ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

 proportional to the needs of the case, nor relevant to ay issue in the case. To collect all of this




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investment/contribution; (b) set forth the dates of each investment/contribution; and (c) identify

all documents related to the investment/contribution.

         RESPONSE:

         ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

proportional to the needs of the case.

         5.     Identify each person who has served as an employee of ABCO or an ABCO affiliate

and who was previously employed by Weather King and, with respect to each such person: (a) set

forth the person’s employer and position/title; and (b) set forth the dates in which the person has

held the position/title.

         RESPONSE:

         ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

 proportional to the needs of the case.

         6.     Identify each person who was employed by Weather King and who, while still

 employed by Weather King, was approached about the possibility of forming an employment

 relationship or other relationship with ABCO or an ABCO affiliate and, with respect to each such

 person: (a) set forth the dates in which communications took place about the possibility of forming

 a relationship with ABCO or an ABCO affiliate; (b) identify all individuals who communicated

 with that person about the possibility of forming a relationship with ABCO or an ABCO affiliate;

 (c) identify all witnesses to each communication; (d) identify the location and mode of each

 communication (z.e., telephonic conversation, email, text message, etc.); and (e) identify all

 documents relating to each such communication.

         RESPONSE:



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         ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

proportional to the needs of the case.

         7.     Identify each person or entity who has served as an independent contractor of

ABCO or an ABCO affdiate and who previously served as a Weather King contractor (including

but not limited to drivers and builders) and, with respect to each such person/entity: (a) identify

the person/entity’s relationship and role with ABCO or ABCO affiliate; and (b) set forth the dates

 in which the person/entity held the role.

         RESPONSE:

         ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

 proportional to the needs of the case.

         8.     Identify each person or entity who served as a Weather King independent contractor

 (including but not limited to drivers and builders) and who, while still a Weather King contractor,

 was approached about the possibility of forming a relationship with ABCO or an ABCO affiliate

 and, with respect to each such person/entity: (a) set forth the dates in which communications took

 place about the possibility of forming a relationship with ABCO or an ABCO affiliate; (b) identify

 all individuals who communicated with that person/entity about the possibility of forming a

 relationship with ABCO or an ABCO affiliate; (c) identify all witnesses to each communication;

 (d) identify the location and mode of each communication (/.<?.. telephonic conversation, email,

 text message, etc.); and (e) identify all documents relating to each such communication.

         RESPONSE:

         ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

 proportional to the needs of the case.




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        9.      Identify each person or entity who has served as an ABCO dealer and who

previously served as a Weather King dealer and, with respect to each such person/entity, set forth

the dates in which the person/entity has served as an ABCO dealer.

        RESPONSE:

        ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

proportional to the needs of the case.

         10.    Identify each person or entity who served as a Weather King dealer and who, while

 still a Weather King dealer, was approached about the possibility of serving as an ABCO dealer

 and, with respect to each such person/entity: (a) set forth the dates in which communications took

 place about the possibility of serving as an ABCO dealer; (b) identify all individuals who

 communicated with that person/entity about the possibility of serving as an ABCO dealer; (c)

 identify all witnesses to each communication; (d) identify the location and mode of each

 communication (z.e., telephonic conversation, email, text message, etc.); and (e) identify all

 documents relating to each such communication.

         RESPONSE:

         ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

 proportional to the needs of the case.

         11.     Identify each rental business (including rent-to-own and consignment) that has

 held a relationship with ABCO and that previously held (or presently holds) a relationship with

 Weather King and, with respect to each such entity, set forth the dates in which the entity has had

 a relationship with ABCO.

         RESPONSE:



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        ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

proportional to the needs of the case, nor relevant to any issue in the case.     To collect this

information imposes an unnecessary burden on ABCO.         Subject to and without waiving those

objections, ABCO states as follows: The following rental businesses exist:

         BPS Rentals

         Jade Rentals

         ABCO does not recall the dates.

         12.    Identify each rental business (including rent-to-own and consignment) that held a

relationship with Weather King and who, while still doing business with Weather King, was

approached about the possibility of forming a relationship with ABCO and, with respect to each

such entity: (a) set forth the dates in which communications took place about the possibility of

forming a relationship with ABCO; (b) identify all individuals who communicated with that entity

about the possibility of forming a relationship with ABCO; (c) identify all witnesses to each

communication; (d) identify the location and mode of each communication (z.e., telephonic

conversation, email, text message, etc.); and (e) identify all documents relating to each such

communication.

         RESPONSE:

         ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

proportional to the needs of the case.

         13.    Identify each entity that is affiliated with ABCO whether as a parent company,

subsidiary, or through common ownership and, with respect to each such entity, identify all of its

owners, shareholders, members, and/or partners.

         RESPONSE:

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           17.    Identify each device in your possession, custody, or control, including but not

  limited to laptop computers, desktop computers, cell phones (including number and provider),

  tablets, or other portable storage devices, that contains or contained any information that refers to,

  relates to, or was created by Weather King.

           RESPONSE:

          None.




                                           VERIFICATION

                                                , declare under penalty of perjury that the foregoing

  responses to Plaintiff s First Set of Interrogatories are true and correct to the best of my knowledge,

   information, and belief, and that I am qualified and authorized to make this statement on behalf of

  American Barn Co., LLC.




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